            Case 19-12944-JDW                        Doc 39          Filed 12/05/19 Entered 12/05/19 08:51:31                               Desc Main
   Fill in this information to identify the case:                    Document     Page 1 of 9
Debtor 1                 Danny Warren
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Northern District of Mississippi (Aberdeen)
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             19­12944
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             8
                                                                                                   Court claim no. (if known): _______________________
 JPMorgan Chase Bank, National Association




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           02/01/2020
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             1565.96
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      9 ____
                                                                    ____ 7 ____
                                                                            8 ____
                                                                                7

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           338.80
                Current escrow payment: $ _________________                                                                       308.73
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                     Danny Warren                                                                       19­12944
    Case
     Debtor 119-12944-JDW              Doc 39 Last
                                                 Filed
                                                    Name 12/05/19
                ________________________________________________________
                First Name    Middle Name                                EnteredCase
                                                                                 12/05/19         08:51:31
                                                                                     number (if known)             Desc Main
                                                                                                       ______________________
                                                Document           Page 2 of 9
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Markera Banks
      ______________________________________________________________
      Signature
                                                                                      12/04/2019
                                                                                Date _______________




 Print:______________________________________________________________
        Markera Banks                                                            Vice President
                                                                                ____________________________________________________________
        First Name             Middle Name            Last Name                 Title


 Company JPMorgan Chase Bank, N.A.
         ____________________________________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            _____________________________________________________________
            Number                  Street

            700 Kansas Lane, Mail Code LA4-5555
            _____________________________________________________________
            Address 2

             Monroe                                  LA      71203
            _____________________________________________________________
              City                                      State        ZIP Code



                     866-243-5851                                                PCN_Escalations@chase.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




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                     UNITED STATES   BANKRUPTCY
                               Document Page 3 of 9 COURT
                                            Northern District of Mississippi (Aberdeen)


                                                   Chapter 13 No. 19-12944
                                                   Judge: Judge Jason D. Woodard

In re:
Danny Warren
                                          Debtor(s).

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before December 06, 2019 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid
                                    Danny Warren
                                    203 McAlexander Road

                                    Holly Springs MS 38635



                                   By U.S. Postal Service First Class Mail Postage Prepaid
                                    N/A




Debtor’s Attorney:                 By U.S. Postal Service First Class Mail Postage Prepaid
                                    Karen B. Schneller
                                    Attorney
                                    P.O. Box 417

                                    Holly Springs MS 38635


                                   By U.S. Postal Service First Class Mail Postage Prepaid
                                    N/A




Trustee:                           By U.S. Postal Service First Class Mail Postage Prepaid
                                    Locke D. Barkley
                                    Trustee
                                    6360 I-55 North
                                    Suite 140
                                    Jackson MS 39211

                                                         _______________________________________________
                                                         /s/Markera Banks
                                                         Vice President
                                                         JPMorgan Chase Bank, N.A.
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